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EXHIBIT F
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RHODE ISLAND DEPARTMENT OF CORRECTIONS
POLICY AND PROCEDURE

 

POLICY NUMBER: | EFFECTIVE DATE:

 

 

 

24.01-7 DOC 08/08/2016 PAGE 1 OF 17
SUPERSEDES: DIRECTOR: Please use BLUE ink.
24.01-6 DOC

 

 

 

SECTION: SUBJECT:

 

MAIL, TELEPHONE, VISITING INMATE MAIL

 

AUTHORITY: Rhode Island General Laws (RIGL) § 42-56-10 (22), Powers of the
director; § 42-56-1, Declaration of Policy;

 

REFERENCES: ACA standard #'s 4-4487 (inmate corresp.); 4-4488 (when inmate bears costs, limits
related to security); 4-4489 (indigent inmates' postage allowance); 4-4490 (inmate access to
publications); 4-4491 (inspection for contraband); 4-4492 (sealed letters to specified classes); 4-4493
(inspection to intercept cash, etc.); 4-4494 (contraband - inspection, disposition); 4-4495 (incoming and
outgoing letters and packages - limit on # of hours held); 4-4496 (forwarding mail following an inmate's
release); the most recent version of RIDOC Policy #'s 2.09 DOC, Accountability of Inmate
Money/Checks; 2.17 DOC, Inmate Accounts; 2.25 DOC, Indigent Inmates; 9.14 DOC, Detecting and
Controlling Contraband on or in the Possession of Inmates/Detainees (including Frisk, Strip and Body
Cavity Searches) or in Inmate Transport Vehicles; 13.10 DOC, Inmate Grievance Procedure; 14.01
DOC, Intake/Commiitting Process; 14.03 DOC, Inmate Property Accountability; 20.07 DOC, Notifying
Offenders of Their Duty to Register with Law Enforcement Agencies and Procedures for Community
Notification; 24.03 DOC, Visits; Amatel v. Reno, 156 F.3d 192 (D.C. Cir. 1998); Mauro v. Arpaio, 188 F.3d
1054 (9% Cir. 1999); RIGL § 11-37.1-1 et seq., Sexual Offender Registration and Community Notification,
RIGL § 15-1-1 Domestic Relations - persons eligible to marry

 

 

 

 

 

INMATE / PUBLIC ACCESS? X YES

 

 

AVAILABLE IN SPANISH? X YES

 

 
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240-RICR-10-00-1

TITLE 240 - DEPARTMENT OF CORRECTIONS

CHAPTER 10 — Inmate Life

SUBCHAPTER 00 - N/A

PART 1 — Inmate Mail

1:1

12

1.3

1.4

1.4.1

Authority

R.I. Gen. Laws § 42-56-10(22), Powers of the director; R.I. Gen. Laws § 42-56-1,
Declaration of Policy.

Purpose

To promulgate rules and guidelines governing inmate correspondence via postal
service for all facilities at the Adult Correctional Institution (ACI) and interoffice
mail.

Policy

Mail procedures are established and maintained to assist inmates in social, legal,
business, and other correspondence deemed appropriate. The following
procedures govern the management, collection, and/or distribution of inmate mail
at all ACI facilities.

Inmates will be permitted uninterrupted correspondence and/or publications (e.g.,
letters, memos, greeting cards, books, magazines, etc.) as long as the
correspondence/publications pose no threat to the safety and security of the
facility, public officials, or the general public, do not hinder rehabilitation of an
inmate, are not being used to further illegal activities, and meet all other
specifications contained within this policy.

Procedures
General Information
Miscellaneous

4 When the inmate bears the mailing cost, there is no limit on the volume of
letters the inmate can send or receive or on the length, language, content,
or source of mail, or publications except when there is reasonable belief that
limitation is necessary to protect public safety or institutional order and
security, assist the rehabilitation of an inmate, and/or prevent the furthering
of illegal activities.
 

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Di All facility mailrooms are “OUT OF BOUNDS’ to all inmates and
unauthorized staff.

3. Mail returned to the Rhode Island Department of Corrections (RIDOC) via
the United States Postal Service (USPS) (i.e., “Return to Sender’) will be
handled in the following manner:

a. Mail originally sent from an inmate as privileged mail [i.e., addressed
to an attorney or any other individual/agency listed in item §§
1.4.2(A)(2)(a) through (r) of this Part] is considered privileged mail
upon its return to the facility and is subject to the procedures outlined
in item § 1.4.2(B) of this Part, Incoming Privileged Mail.

b. Mail originally sent from an inmate as non-privileged mail [i.e.,
addressed to someone other than an attorney or any other
individual/agency listed in item §§ 1.4.2(A)(2)(a) through (r) of this
Part] is considered non-privileged mail upon its return to the facility
and is subject to the procedures outlined in item § 1.4.3(B) of this
Part, Incoming Non-Privileged Mail.

B. Incoming Mail — General Information

he Incoming mail is distributed to inmates within 24 hours of receipt from the
Post Office whenever possible, excluding weekends, holidays and
emergency situations.

2. Incoming mail may be opened, inspected for contraband and read by
authorized institutional staff within the guidelines set forth in this policy.

3: All First Class mail (letters and packages) is forwarded by appropriate
facility, administrative and/or executive staff (e.g., facility Mail Officers, the
Assistant to the Director, applicable Legal Counsel staff) to inmates who
have been transferred to other facilities or institutions or released provided
that a forwarding address is available.

a. lf forwarding addresses are not available, First Class letters and
packages are returned to senders.

b. First Class letters and packages sent to inmates who have been
transferred to out-of-state or federal facilities are forwarded to the
inmates, in care of the Wardens of the receiving facilities.

4. Mail received with postage due is returned to the sender.

a. lf the sender is unknown, the postage due mail is returned to the Post
Office.
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3; Publications and/or packages containing commodities authorized for inmate
possession are not accepted on a C.O.D. basis.

6. All authorized items shipped through the USPS are accepted on a prepaid
(in full) basis only.

7. Mail from inmates incarcerated at federal, county, municipal, and other state
correctional facilities, and from inmates on Home Confinement addressed
to inmates at the ACI is returned to the sender, except in cases where the
correspondence is between immediate family members as defined in §
1.4.1(C)(5) of this Part.

8. All mail (letters, packages, etc.) is only accepted when arriving through the
USPS. Packages arriving from United Parcel Service (UPS), Federal
Express, etc., are not accepted.

9. Removal of Items from Incoming Mail

a. In each case where it is deemed necessary to remove any item(s)
from incoming mail, a written record is made of such action. A copy
of this record is given to the affected inmate. The record includes:

(1) — Inmate’s name and |.D. number;

(2) Description of mail in question, to include a description of the
item;

(3) | Description of action taken and reason(s) for such action;
(4) Disposition of removed item(s); and
(5) Signature of the Mail Officer

b. When contraband is found which is not otherwise illegal, a notice is
sent to the inmate, and the contraband is returned to the sender at
the inmate’s expense.

(1) If there is no return address, contraband that is not otherwise
illegal is destroyed.

(2) In the event that items are removed from mail, the inmate may
appeal the action taken through the formalized inmate
grievance procedure, consistent with the most recent version
of RIDOC Policy 13.10 DOC, Inmate Grievance Procedure.

Cc. When illegal contraband is seized, procedures outlined in the most
recent version of RIDOC Policy 9.14 DOC, Detecting and
Confiscating Contraband on or in the Possession of
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Inmates/Detainees (including Frisk, Strip and Body Cavity Searches)
or in Inmate Transport Vehicles.

d. Any cash, checks, postal notes, money orders, or drafts found in
incoming mail are seized and forwarded to the Inmate Accounts
Office to be deposited in the inmate’s account, according to the most
recent version of RIDOC Policy 2.09 DOC, Accountability of Inmate
Money/Checks.

(1) A receipt of the transaction is given to the addressee and a
copy is placed in the inmate’s facility file.

10. Documentation/Notification Requirements for Disapproval of Incoming
Publications

a. When any written material (e.g., books, magazines, periodicals,
pamphlets, newspapers, newsletters, etc.), or portion thereof,
addressed to an inmate is received at the facility, but is not
deliverable to the inmate for any reason set forth in § 1.4.3(B)(3) of
this Part, the inmate is promptly notified, in writing, of the following:

(1) | The reason(s) for refusing to allow the material or a portion
thereof into the facility (see § 1.4.3(B)(3)(d) of this Part for
specific criteria for prohibiting materials);

(2) | The process for the inmate to appeal the decision to prohibit
the material.

b. The publisher/sender, when identifiable, is notified via copy of the
inmate’s final notice of denial of the material issued by the
Publication Review Committee and may request a review of this
action by writing to the Assistant Director of Institutions and
Operations within fourteen (14) days of receipt of notification.

(1) A publisher is defined as a business, organization, or firm
which issues and makes available to the general public books
and other publications for sale and wide distribution.

G. Where criminal activity is suspected, in addition to the procedures
set forth in this policy, the matter is referred to the appropriate law
enforcement agency [e.g., USPS, Federal Bureau of Investigation
(FBI), Attorney General] by the Director or designee [the Office of
Inspections or the Special Investigations Unit (SIU)].

d. In the event library books are confiscated by staff due to questions
about the content of the material, the review of the book(s) will follow
the same procedures outlined for incoming non-privileged mail.
Notice that the book(s) will be prohibited from the facilities will be
 

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sent to the librarian by the ADIO after the review process is
completed.

11. Unclaimed Mail

a. See the most recent version of RIDOC Policy 14.01 DOC,
Intake/Committing Process for procedures for handling inmate
property returned to RIDOC by the US Postal Service as
undeliverable.

b. Incoming mail for a released inmate for whom a valid forwarding
address is not available, and for whom there is no return address, is
returned to the RIDOC central mailroom where is it held for one (1)

day, after which time it is returned to the United State Post Office for
disposition.

12. Certified Mail

a. The Mail Officer maintains a logbook for incoming Certified Mail.
This logbook includes the date Certified Mail was received and the
date it was delivered to the inmate addressee.

(1) Inmates receiving Certified Mail must sign the receipts (i.e.,
green cards).

(2) | Once the inmate signs the receipt, the Mail Officer sends the
receipt back to the sender via USPS, and makes the
appropriate notations in the logbook.

C. Outgoing Mail — General Information
1. Outgoing mail receptacles are available to inmates in each facility.

2. Outgoing mail is transmitted to the Post Office within a 24-hour period
whenever possible, excluding weekends, holidays, and emergency
situations.

3 The inmate sender must list his/her name, RIDOC inmate identification
number, facility, housing unit, and bunk assignment in the top left-hand
corner of the envelope on any mail s/he sends out, e.g., mail addressed to
Departmental personnel through the inter-Departmental mail system
(requiring no postage) or via USPS (requiring proper postage paid by the

inmate).
4. Proper postage must be affixed.
8 .. Inter-Departmental mail between inmates is not authorized, except in cases

where the correspondence is between immediate family members (to
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include blood, marriage, and step relationships) to be defined as parent,
grandparent, spouse (including common-law), brother or sister, son or
daughter, grandson or granddaughter, or when an inmate is a party to ora
witness in an active legal action in which both inmates are involved (e.g.,
co-defendants), and they are both pro se (verified by RIDOC’s Office of
Legal Counsel). Inmates wishing to correspond with other inmates should
submit requests to the facility Warden or designee.

6. In order to establish the existence of common-law marriage, spouses are
required to present two (2) different examples of the following documents:

a. A personal affidavit stating when and where you and your common-
law spouse mutually agreed to become husband and wife; whether
you were ever married, ceremonially or otherwise, to anyone else,
and the details surrounding the end of any previous marriages (how
they were ended, where and when); and any other details that will
help to establish the existence of a husband and wife relationship.

b. Affidavits from other persons who know you and are familiar with
your relationship, setting forth particulars such as the length of time
you lived together, your address(es); whether there was any public
announcement of your marriage; and whether your friends,
neighbors, and relatives regard you as married.

Cc. Deed showing title to property held jointly by both parties to the
common-law marriage.

d. Bank statements and checks showing joint ownership of the
accounts.

e. Insurance policies naming the other party as beneficiary.

f. Birth certificates naming you and your common-law spouse as

parents of your child(ren).

g. Employment records listing your common-law spouse as an
immediate family member.

h. School records listing the names of both common-law spouses as
parents.

i. Credit card accounts in the names of both common-law spouses.

j. Loan documents, mortgages, and promissory notes evidencing joint
financial obligations of the parties.

k. Mail addressed to you and your common-law spouse as “Mr. and
Mrs.”
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I. Any documents showing that the wife has assumed the surname of
her common-law husband.

m. Church records indicating familial status, including membership
information, baptismal certificates of the parties’ child(ren), Sunday
school registration forms, etc.

G All outgoing inmate mail must contain the following statement in letters at
least 1/8” high: “ATTENTION! THIS IS R.I. DEPT. OF CORRECTIONS
INMATE CORRESPONDENCE. The contents have not been censored.
The Sender is not authorized to enter into credit contracts.”

a. Each facility's Mail Officer is responsible for stamping this message
on all appropriate mail if said mail does not include this message pre-
printed on the envelopes.

8. Outgoing mail may be opened, inspected for contraband, and read by
authorized facility staff within the guidelines set forth in this policy.

9. All postage costs for outgoing mail will be paid by the inmate (with the
exception of indigent inmates).

10. Indigent Inmates. The Department of Corrections will pay First Class
postage for up to three (3) outgoing personal letters per week, as well as
First Class postage for all outgoing privileged correspondence of indigent
inmates.

a. The most recent version of RIDOC Policy 2.25 DOC, Indigent
Inmates, defines an indigent inmate as one who is involuntarily
unemployed, has less than $10.00 in his/her active account, and has
had no deposits of $10.00 or more in the previous two (2) months.

b. Procedures for indigent inmate outgoing mail at the Intake Service
Center (ISC) are as follows:

(1) Inmate places mail unstamped in the central mail depository.

(2) Both the ISC and the central mailroom officers conduct
periodic, random name checks only on unstamped mail to
ensure the sender is an indigent inmate. Mail not meeting
those criteria is returned to the inmate.

(3) | The Department does not pay for Certified or other specific
mailing categories for indigent inmates.

6: Procedures for indigent inmate mail at all other facilities are as
follows. The inmate:
 

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(1) Completes money transfer form, to include name and I.D.
number;

(2) | Checks off postage;

(3) | Writes “Indigent” in section “Reason for Transferring Money’;

(4) Signs the form; and

(5) Attaches the form to the mail and gives said form to area
supervisor or places it in the receptacle designated for this

purpose.

11. Books of postage stamps are available for inmate purchase via the inmate

commissary.

a. Postage stamps are not accepted through visits or mail.

b. Inmates are allowed to have no more than two (2) books of twenty
(20) or four (4) books of ten (10) postage stamps each in their
possession.

CG. All postage stamps must be attached in booklets. No loose stamps
are allowed.

d. Inmates in disciplinary confinement who have adequate funds are

responsible for purchasing postage stamp books. Said inmates who
are not indigent are not provided with “state-issued” stamps.

12. |Documentation/Notification Requirements for Disapproval of Outgoing Mail

a. When any mail, or a portion thereof, is not mailed for any of the
reasons set forth in this policy, the inmate is promptly notified in
writing of the following:

(1) | The reason for refusal to send the mail, or a portion thereof;
and

(2) The fact that the inmate may submit a written appeal through
the formalized inmate grievance procedure.

b. Where criminal activity is suspected, in addition to the procedures
set forth in this policy, the matter is referred to the appropriate law
enforcement agency (e.g., USPS, FBI, Attorney General) by the
Director or designee [the Office of Inspections or the Special
Investigations Unit (SIU)].
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1.4.2 Privileged Mail

A. General Guidelines

1.

Privileged mail, whether it is incoming or outgoing, cannot be read by
RIDOC staff.

Inmates are permitted to send and receive letters from the following
persons:

a.

Any official of a court of the United States or the State of Rhode
Island or acting on behalf of the court (judge, attorney, clerk,
probation and parole officers);

The President of the United States;

The Governor of the State of Rhode Island;

Any member of the Congress of the United States;

Any member of the General Assembly of the State of Rhode Island;
The Attorney General of the United States;

The Attorney General of the State of Rhode Island;

The Director or any agent of the Federal Bureau of Investigation
(FBI);

The senior administrator of any state’s State Police;
The Director of the Rhode Island Department of Corrections;

Any Assistant Director of the Rhode Island Department of
Corrections;

Any member of the Parole Board;
RIDOC Inmate Grievance Coordinator;

Any public official or agency, where the mail appears on its face to
relate to legal matters;

The American Civil Liberties Union (ACLU), its affiliates and sections,
i.e., The National Prison Project;

Public Defender;

Attorney;
 

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r. Legal Aid Society.

3. Inmates and other persons with whom inmates may correspond as provided
above shall not use or permit others to use authorized privileged mail for:

a. personal, non-legal, and/or non-official correspondence;
b. the transmission of contraband; and/or
c the transmittal of communications to be given or forwarded to

persons not specified above.

4. Anyone receiving mail that, according to the above-listed criteria, is
considered prohibited should submit such communications or materials to
the Warden of the facility in which the inmate is confined.

B. Incoming Privileged Mail
ine Incoming privileged mail may be opened and inspected in the presence of
the inmate addressee. RIDOC staff is prohibited from reading privileged
incoming mail.
2. Incoming privileged mail is treated as privileged only if the name and/or

official status of the sender appear clearly on the envelope.
C. Outgoing Privileged Mail

1. Outgoing privileged mail may only be inspected if a reasonable belief exists
that the security of the institution is at risk. In such cases, it may be
inspected for contraband only in the presence of the inmate. RIDOC staff
is prohibited from reading outgoing privileged mail.

1.4.3 Non-Privileged Mail

A. General Guidelines

i Non-privileged mail, both incoming and outgoing, may be opened and
inspected for contraband.

2. It is the policy of RIDOC not to read or censor incoming or outgoing mail,
except for reasons of safety or security.

3. Written material shall not be rejected solely because its content is religious,
philosophical, social or sexual, or because its content is unpopular,
repugnant, or based upon an employee’s personal views of the merit of
such mail.
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4. Non-privileged mail may be read, and disallowed, provided there is a
reasonable belief that reading the mail is necessary to preserve facility order
and security or to protect the public safety.

5. Inmates are notified when incoming or outgoing mail is withheld in part or in
full, as set forth in §1.4.3(B)(3) of this Part.

6. Inspection of non-privileged mail may be undertaken only by authorized
staff in accordance with the procedures outlined in this document and in
established post orders.

7. Only the following RIDOC staff may read non-privileged mail:

a. Director;
b. Assistant Directors;
C. Wardens;

d. Deputy Wardens;
é. Shift Commanders;
f. Inspectors;

g. Investigators (SIU);

h. Staff member designated by the Warden for such purpose (e.g. Mail
Officer);

i. Members of the Publication Review Committee (PRC).
j. Legal Counsel for the RIDOC

8. Any facility-based authorized staff member reading inmate mail pursuant to
this policy records such action in a logbook maintained by the facility
Mailroom Officer for such purpose.

B. Incoming Non-Privileged Mail

1; In addition to the General Guidelines specified above, the Director or the
Assistant Director of Institutions & Operations may authorize the reading of
incoming non-privileged mail when in his/her opinion such action is
necessary to prevent entry of materials and/or information prohibited under
this policy.
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2: Incoming Printed (Non-Privileged) Material

a. The purchase of commercially-produced photographs and hard
cover books is prohibited.

b. Inmates are not allowed to order written material with the “bill me
later” option on the order form.

Cc. Items received in the mail (e.g., pictures from magazines) cannot be
posted in inmates’ cells.

d. As a general rule, any printed material, including but not limited to
newspapers, drawings, magazines, pamphlets, books, printouts from
websites or photographs may be excluded, if it is determined to be
detrimental to the security, good order or discipline of the facility,
and/or if the effect of which might hinder rehabilitation of an inmate,
facilitate criminal activity or contribute to a hostile work environment.

e. See § 1.4.3(B)(3)(d) of this Part for specific criteria for prohibiting

materials.
3. Disapproval of Incoming Non-Privileged Mail
a. Incoming non-privileged mail is disapproved only to prevent

interference with facility goals of security, order, discipline,
rehabilitation, if it might facilitate, encourage or instruct in criminal
activity, or contribute to a hostile work environment. Disapproval is
not based upon an employee’s personal views of the merit of such
mail.

(1) RIDOC reserves the right to disallow personal photographs
and/or facsimiles which feature nudity as defined herein [see
§ 1.4.3(B)(3)(d)((8)) of this Part].

(2) Consistent with the most recent version of RIDOC Policy
14.03 DOC, Inmate Property Accountability, personal
property not authorized within a facility is sent to a person
designated by the inmate (at no expense to the State),
donated to a charitable organization, or destroyed. Property
not disposed of by the inmate is donated or destroyed after
thirty (30) days, except at ISC, where it is destroyed after ten
(10) days.

b. RIDOC reserves the right to disallow previously approved
publications on an issue-by-issue review.

C Facility Wardens or designees (e.g., Mail Officers), Shift
Commanders and the Publication Review Committee review written
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materials to determine whether they will be allowed into a facility.
Review of the written material shall take into account the desire to
minimize intrusiveness along with the criteria for prohibition outlined
in § 1.4.3(B)(3)(d) of this Part.

(1) Mail Officer Responsibilities: Whenever a Mail Officer finds a
publication or other written material objectionable or
questionable s/he will forward it to the Shift Commander for
his/her review along with the Chain of Custody form within two
(2) working days. The Mail Officer will notify the inmate
pursuant to § 1.4.1(B)(10)(a) of this Part.

(2) Shift Commander Responsibilities: The Shift Commander will
review the publication or other written material to determine if
it will be allowed into the facility in whole or in part. If s/he
determines the material as a whole will be allowed into the
facility the Shift Commander will instruct the Mail Officer to
deliver the material to the inmate.

(AA) _ If the Shift Commander determines that only a portion
of the publication or other written material should enter
the facility, s/he will instruct the Mail Officer to contact
the inmate and explain the reason that part of the
material will be removed or redacted prior to delivery.
If the inmate agrees to accept the written material with
portions removed or redacted, s/he will receive the
remainder of the material.

(BB) If the inmate does not accept the written material with
portions removed or redacted, s/he may ask for a
review of the Shift Commander's decision by the
Warden/designee. The Mail Officer will send the
material to the Warden/designee along with the Chain
of Custody form within two (2) working days.

(CC) If the Shift Commander finds the publication
objectionable or questionable as a whole, s/he will
forward it to the Warden/designee along with the Chain
of Custody form within two (2) working days.

(3) | Warden/Designee Responsibilities: The Warden/designee
will review the publication or other written material and
determine whether it will be allowed into the facility in whole
or in part. If it is allowed in whole, the Warden/designee will
instruct the Mail Officer to deliver the material to the
inmate/library.
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(AA) _ If the Warden/designee allows the publication or other
written material in part, s/he will instruct the Mail Officer
to contact the inmate/librarian and explain the reason
that part of the material will be removed or redacted. If
the inmate agrees to accept the material with portions
removed or redacted, s/he will receive the remainder of
the material.

(BB) If the inmate does not accept the Warden/designee’s
decision that part of the written material will be
removed or redacted, s/he will be given the Chain of
Custody form and the material will be forwarded to the
Publication Review Committee within five (5) working
days.

(CC) If the Warden/designee finds the publication or other
written material objectionable or questionable as a
whole, s/he will forward the material to the Publication
Review Committee (PRC) along with the Chain of
Custody form within five (5) working days.

Publication Review Committee Responsibilities: The
Publications Review Committee (PRC) is comprised of the
following individuals: The Central Office Warden; The Chief
of SIU; The Interdepartmental Project Manager, Director's
Office

(AA) The PRC will review the publication or other written
material and determine whether the material will be
allowed in the facility(s). The committee will take into
account the criteria for prohibition outlined in §
1.4.3(B)(3)(d) of this Part as well as the desire to
minimize intrusiveness.

(BB) If the material is allowed, the PRC will return the
material to the facility Warden/designee (e.g., Mail
Officer) to be delivered to the inmate.

(CC) If the PRC finds the written material objectionable
pursuant to the criteria outlined in this policy, the
material will be prohibited. The PRC will send the
inmate the Chain of Custody form within seven (7)
working days, notifying the inmate that the material has
been prohibited from the facility along with an
explanation for the denial. The ADIO will notify the
publisher/sender of the PRC’s decision.
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(5) Inmate Appeal of the PRC to the Assistant Director of
Institutions and Operations (ADIO): If the inmate wishes to
seek review of the PRC’s decision, the inmate will be afforded
14 days to write to the ADIO to seek review of the PRC’s
decision. The publication will be held until the ADIO renders
a decision approving or disapproving the PRC’s decision.

(AA) The Assistant Director of Institutions and Operations
will notify Wardens/designees (e.g., Mail Officers) and
the PRC of his/her decision regarding the
questionable/objectionable publication within 14 days.

(BB) If the ADIO upholds the PRC’s decision (i.e., the
material is disallowed), Mail Officers notify the affected
inmates in writing of the ADIO’s decision and the
inmate will be offered the opportunity to send the
publication out (at the inmate’s cost) or it will be
destroyed. The publisher/sender will receive notice of
the decision from the ADIO.

(CC) If the ADIO overturns the PRC’s decision (i.e., the
material is approved for delivery to inmates), Mail
Officers notify Wardens and deliver the publication.

(6) If the inmate chooses not to request an appeal, s/he may
submit a money transfer form to the Mail Officer with
instructions as to whom the publication should be sent. If the
inmate does not send a money transfer form, the publication
is destroyed.

(7) In the event the publisher wishes to request a review of the
decision made by the PRC or the ADIO, the publisher may
request a review by writing to the ADIO within fourteen (14)
working days of receipt of the notice.

d. The contents of the material, as a whole or in part, may be prohibited
if the materials:

(1) Depict or describe procedures for the construction or use of
weapons, ammunition, bombs, or incendiary devices;

(2) Depict, describe, or encourage methods of escape from
correctional facilities, or contain blueprints, drawing, or similar
descriptions of any correctional facility within the State of
Rhode Island;
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(3) | Depict or describe procedures for the brewing of alcoholic
beverages or the manufacture of drugs, drug paraphernalia
and/or poisons;

(4) Are written in code;

(5) Depict, describe, or encourage activities that may lead to the
use of physical violence or group disruption;

(6) | Encourage, facilitate, or instruct in the commission of criminal
activity;

(7) Are sexually explicit;

(AA) “Sexually explicit material’, means a pictorial depiction
of sexual acts including sexual intercourse, oral sex,
masturbation and/or anal sex.

(8) Inmates who are serving sentences that would require them
upon release to register as “sexual offenders” pursuant to R.1.
Gen. Laws § 11-37.1-1 et seq. and the most recent version of
RIDOC Policy 20.07 DOC, Notifying Offenders of their Duty to
Register with Law Enforcement Agencies and Procedures for
Community Notification, for specific offenses delineated
therein are also prohibited from receiving materials that
feature nudity.

(AA) “Nudity”, means a pictorial depiction where male or
female genitalia or buttocks and/or female breasts are
exposed; “features” means that the item contains
depictions of nudity or sexually explicit conduct on a
routine basis or promotes itself based upon such
depictions in the case of one-time issues.

(9) In addition, offenders whose crimes involved minors may be
further restricted with respect to printed
materials/publications. Child sexual abusers are additionally
prohibited from ordering child- and _ family-oriented
publications.

(10) _ If facility staff approved to review written materials, as forth in
§ 1.4.3(A)(5) of this Part are uncertain of the nature of an
inmate’s crime or of the appropriateness of a specific
publication, they consult the Director of RIDOC’s Sex
Offender Treatment Program, who makes case-by-case
determinations.
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(11) The effect of which is to glorify or promote violence against
men/women/children;

(12) The effect of which is to glorify or promote gang activities or
racial, religious, or ethnic discord;

(13) Are not acceptable for regular mailing in the United States
because they are “non-mailable material” under Federal law,
military regulations, or USPS regulations.

(AA) Prior to sending the publication elsewhere or
destruction, the publication is given to the Central
Office Warden for dissemination to all facility
Investigators.

C. Outgoing Non-Privileged Mail

1. In addition to the General Guidelines specified above, the Director or
designee may authorize the reading of outgoing non-privileged mail only
when s/he has received specific information (reasonable suspicion) that a
particular inmate’s mail contains information which is prohibited under this
policy.

2. Where outgoing mail is read pursuant to this section, and prohibited
information is found, the mail or relevant portion thereof may be confiscated.
In addition, the inmate sending the mail is subject fo disciplinary action.
